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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

PERRY CLINE,on behalf of himself
and all others similarly situated,
                       Plaintiff,

V.                                                    Civil Action No. 6:17-cv-313-JAG


SUNOCO,INC.(R&M),and,
SUNOCO PARTNERS MARKETING
& TERMINALS, L.P.,
                       Defendants.


                                             ORDER


        This matter comes before the Court on the plaintiffs motion to certify the class(Dk. No.

91) and the defendants' motion for leave to file a sur-reply(Dk. No. 119). For the reasons stated

in the accompanying Opinion, the Court GRANTS the motion to certify and CERTIFIES the

following class:

        All non-excluded persons or entities who:(1) received Untimely Payments from
        Defendants (or Defendants' designees) for oil proceeds from Oklahoma wells on
        or after July 7, 2012, and (2) who have not already been paid statutory interest on
        the Untimely Payments. An "Untimely Payment" for purposes of this class
        definition means payment of proceeds from the sale of oil production from an oil
        and gas well after the statutory periods identified in OKLA. STAT. tit 52,
        §570.10(B)(1) (i.e., commencing not later than six (6) months after the date of
        first sale, and thereafter not later than the last day of the second succeeding month
        after the end of the month within which such production is sold). Untimely
        Payments do not include: (a) payments of proceeds to an owner under OKLA.
        STAT. tit 52, §570.10(B)(3)(minimum pay);(b) prior period adjustments; or (c)
        pass-through payments.

        The persons or entities excluded from the Class are:(1) agencies, departments, or
        instrumentalities of the United States of America or the State of Oklahoma;(2)
        publicly traded oil and gas companies and their affiliates; (3) persons or entities
        that Plaintiffs counsel may be prohibited from representing under Rule 1.7 of the
        Oklahoma Rules of Professional Conduct; and (4)officers of the court.
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